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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  NATIONAL PUBLIC RADIO, INC., et al.

                              Plaintiffs,

  v.                                                            Case No. 25-cv-1674

  DONALD J. TRUMP, et al.


                              Defendants.


               PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
           AND DECLARATORY AND PERMANENT INJUNCTIVE RELIEF

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Civil Rule 7(h),

Plaintiff National Public Radio, Inc. (NPR) and Plaintiffs Roaring Fork Public Radio, Inc. d/b/a

Aspen Public Radio (Aspen Public Radio), Colorado Public Radio (CPR), and KUTE Inc. d/b/a

KSUT Public Radio (KSUT) (together, the Local Member Stations), by and through their

undersigned counsel, respectfully move for summary judgment in their favor against all

Defendants. Specifically, Plaintiffs respectfully request that this Court declare Executive Order

14290, entitled “Ending Taxpayer Subsidization of Biased Media” and issued by the President on

May 1, 2025, unlawful because it violates the First and Fifth Amendments to the U.S. Constitution,

exceeds the limits that Congress imposed on the Executive Branch in the Public Broadcasting Act

and National Foundation on the Arts and Humanities Act, and contravenes the Constitution’s

separation of powers. Because the Order is unlawful, Plaintiffs respectfully request that the Court

declare that all actions by Defendants implementing it also are unlawful—and the National

Endowment for the Arts and the Corporation for Public Broadcasting may not lawfully withhold

funding from any Plaintiff on the basis of the Order. And because the Order inflicts serious and


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irreparable injuries on Plaintiffs for which there is no adequate remedy at law and injunctive relief

would serve the public interest, Plaintiffs further respectfully request that this Court permanently

enjoin all Defendants, save Defendant President Donald J. Trump, from implementing or enforcing

it.

       The grounds for this Motion are fully set forth in the attached Memorandum of Law and

supporting declarations and exhibits. A proposed order describing with more particularity the

relief sought also is attached. Consistent with the briefing schedule entered by the Court on June

10, 2025, Plaintiffs respectfully request a hearing on this Motion as soon as practicable following

the competition of briefing on August 8, 2025.




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June 13, 2025                          Respectfully submitted,
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                                       rado Public Radio, and KUTE, Inc. d/b/a
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 13, 2025, I electronically filed the foregoing Motion and all
supporting documents with the Clerk of the Court for the United States District Court for the
District of Columbia by using the CM/ECF system, which will serve a copy of the same on the
counsel of record.

                                                     Respectfully submitted,

                                                     /s/ Miguel A. Estrada




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